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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

xX
AGUSTIN CAMANO ANZUREZ, individually and on :
behalf of others similarly situated,
Plaintiff, | 20-CV-3828 (JMF)
-v- | ORDER
LA UNICA CARIDAD, INC. d/b/a LA CARIDAD 78
RESTAURANT, et al., :
Defendants. |
x

 

JESSE M. FURMAN, United States District Judge:

On August 12, 2020, Plaintiff filed his Amended Complaint, naming Defendants La
Unica Caridad, Inc., Miguel Yip, and Kwok Wood Lee. ECF No. 30. Defendants Lee and Yip
filed their Answer on October 27, 2020. ECF No. 52. La Unica Caridad, in contrast, has never
responded to the Amended Complaint or otherwise appeared in this action. On October 29,
2020, following a hearing on the record by telephone, the Court entered default judgment against
La Unica Caridad, finding it “liable to Plaintiff... as alleged in the complaint in this action, for
unpaid minimum and overtime wages pursuant to the Fair Labor Standards Act (FLSA) and New
York Labor Law (NYLL), unpaid spread-of-hours pay pursuant to NYLL §§ 650 et seq. and 12
N.Y.C.R.R. §§ 146-1.6, failure to furnish wage notice and wage statements as required under
Section 195 of the New York Labor Law, and unlawful ‘kickbacks’ in violation of Section 198-
b(2) of the New York Labor Law, together with interest, costs, and attorneys’ fees, all in a total
to be ascertained.” ECF No. 58. On December 29, 2020, Plaintiff filed a notice of acceptance of
offer of judgment pursuant to Rule 68 of the Federal Rules of Civil Procedure from Defendants
Yip and Lee. ECF No. 70. The Court entered judgment against Defendants Yip and Lee in the
amount of $22,000 the next day. ECF No. 72.

The default judgment entered against La Unica Caridad pertains only to liability, not
damages. Accordingly, no later than January 13, 2021, Plaintiff shall file a letter addressing
what steps, if any, he intends to take to continue pursuing his claims against La Unica Caridad.

SO ORDERED. CG -
Dated: December 30, 2020

New York, New York SSE M\EVRMAN

ted States District Judge
